Case 09-10138-MFW             Doc 12749-17                    Filed 01/03/14   Page 1 of 102




                                II~II
           This is Exhibit.....~..,,.....,,.....referred
                                                       ta fn the

           art(devI'I   of....t..Vt..tyt'....,+2'.!~.".2.~Q.(...,.....
           sworn befor       rn, this.....
           ddy   oy..li.L.,yIyy~.,...,2..0...........

                              A COMMISSIONER FOR TAKING AFFIDAVITS


                               DAVIG     B~LWSHANIES
                            NQTARY PUBLIC, Mte of New Pork



                                                                „~
                                      No. 02SH81607&
                                  QUBllfied    irI KirIgs   COUrI@
                            Commission       Expires F&. 12,
              Case 09-10138-MFW          Doc 12749-17           Filed 01/03/14     Page 2 of 102
                C a s e 09-10138-KG      Doc 12688-1          Filed 12/20/13   P a g e 2 of 1 2 4
    Representative Witness Subjects Served by the
    Monitor and Canadian Debtors


                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


   In re:                                                            Chapter 11


   Nortel Networks Inc., et a l .                                    Case No. 09-10138 (KG)

                                                                     (Jointly Administered)
                                      Debtors.




                              •                     - and -

                                                                               Court File No. 09-CL-7950

                                             ONTARIO
                                    SUPERIOR COURT OF JUSTICE
                                        (COMMERCIAL LIST)

             IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT ACT,
                         •  R.S.C. 1985, c. C-36, AS AMENDED

            AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
               NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED,
               NORTEL NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS
            INTERNATIONAL CORPORATION AND NORTEL NETWORKS TECHNOLOGY
                                     CORPORATION

            APPLICATION UNDER THE COMPANIES' CREDITORS ARRANGEMENT ACT,
                           R.S.C. 1985, c. C-36, AS AMENDED


AMENDE REPRESENTATIVE WITNESS SUBJECTS SERVED BY THE CANADIAN
D
      ALLOCATION GROUP AND THE CANADIAN CLAIMS DEFENDANT GROUP

                                           (December 13,2013)
                              .            (December 15,2013)




                                                       1
        Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 3 of 102
           C a s e 09-10138-KG       Doc 12688-1     Filed 12/20/13      P a g e 3 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors



                  Subjects for the Representative Witness of the US Debtors

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed himself or herself of the relevant facts,
including documentary support, known or available to that party, if any (through its
existing or former employees, officers and directors as the case may be) relating to the
following subjects, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The facts and documents, other than the MRDA, demonstrating the US Debtors'
       understanding of the phrase "equitable and beneficial ownership" as used in the MRDA
       and the term "economic ownership" as used in the US Debtors' allocation pleadings.

2.     The facts and documents, other than the MRDA, demonstrating the ownership interests
       that the US Debtors allegedly had in any of the intellectual property sold in the line of
       business sales and in the Rockstar transaction.

3.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest in Nortel's intellectual property held by parties other than NNL.

4.      The factual and documentary basis for and scope of licenses of Nortel's intellectual
        property, including any enhanced licences, held by parties other than NNL.

5.     The past practices of NNL and its subsidiaries concerning the scope of the licenses to
       Nortel intellectual property under the Cost-Sharing Agreements and the MRDA.

6.     The factual and documentary basis, other than the MRDA, demonstrating that the
       Licensed MRDA Participants' agreement to have the patents and all other registered
       forms of Nortel IP filed in NNL's name and to share the cost o f global R&D through
       transfer pricing payments was in exchange for enhanced exclusive licenses that
       constituted effective ownership of the IP in their respective jurisdictions, including the
       factual and documentary basis for demonstrating that this choice was a conscious
       decision.

7.     The factual and documentary basis, other than the MRDA, demonstrating that the
       Licensed MRDA Participants' agreement to have the patents and all other registered
       forms of Nortel IP filed in NNL's name and to share the cost of global R&D through
       transfer pricing payments was in exchange for enhanced exclusive licenses that
       constituted effective ownership of the IP in their respective jurisdictions, including the
       factual and documentary basis for demonstrating that this choice was a conscious
       decision.



                                                 2
        Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 4 of 102
           C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13     P a g e 4 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


8.     The facts and documents demonstrating the reasons why it was decided that NNL would
       be the registered owner of all of the NN Technology (as that term is defined in the
       MRDA).

9.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

10.    The facts and documents demonstrating Nortel's processes for the identification and
       development of products, including as they varied over time before and after January 14,
       2009.            '

11.    The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

12.    At the time each of the lines of business were sold and when the Rockstar transaction
       closed, the value, including the dollar value, of the US Debtors' alleged interest in the
       Nortel global patent portfolio and the factual bases for those values.

13.    The facts and documents underlying the contention o f the US Debtors that they could
       have generated value from the intellectual property sold in the Rockstar transaction in the
       absence o f a sale of that intellectual property.

14.    The value the US Debtors attribute to intangible assets other than intellectual property
       sold as part o f each of the line of business sales and the Rockstar transaction, including
       without limitation goodwill and customer relationships, and all factual bases for those
       values.

15.    The value the US Debtors attribute to tangible assets sold as part of each of the line of
       business sales and the factual bases supporting those values.

16.    The US Debtors' position on what amounts should be allocated to each of the estates in
       respect o f the sales of tangible assets and on what factual basis.

17.    The facts and documents evidencing: (1) the $7.2 billion NNI contends it paid between
       2001 and 2009 for directly funded research and development; (2) the amounts that NNL,
       NN Ireland, NNUK, and NNSA paid for direct funding of research and development
       from 2001 and 2009; (3) the amounts that NNI contends were paid by NNL to NN
       Ireland, NNUK, and NNSA in the form of transfer pricing adjustment payments to fund
       research and development by Nortel group entities; and (4) the amounts that NNI
       contends were paid in transfer pricing adjustments under the Nortel transfer pricing
       model between 2001 and 2009.



                                                 3
        Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 5 of 102
            C a s e 09-10138-KG     Doc 12688-1      Filed 12/20/13      P a g e 5 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


18.    The facts and documents supporting the US Debtors' position that without the backing of
       NNI's balance sheet the Nortel Group's access to credit markets would not have been
       possible or would have been greatly reduced.

19.    The facts and documents supporting the US Debtors' position that without access to the
       pre-petition NNI revolving credit facility NNL would not have been able to operate.

20.    The facts and documents demonstrating the US Debtors' recognition that the best way to
       maximize value for creditors was to sell the Nortel Group's rights, property and other
       assets together in each of the line of business sales and the Rockstar transaction instead of
       turning it into an intellectual property licensing business, including

       a.      the facts and documents demonstrating all efforts made to determine the US
               Debtors' ability, after January 14, 2009, to use a contract manufacturer to
               manufacture products embodying Nortel intellectual property.

       b.      the facts and documents demonstrating all efforts made to determine the
               feasibility of sublicensing NNI's license rights under the MRDA after January 14,
               2009.

       c.      the facts and documents demonstrating all efforts undertaken by the US Debtors
               to determine the feasibility of forming a new reorganized company or corporate
               group to enforce the Nortel patents.

21.    The facts and documents demonstrating which Nortel entity paid for the prosecution and
       maintenance of the patents in Nortel's global patent portfolio, including but not limited to
       patents registered in the United States.

22.    The facts and documents demonstrating when and under what circumstances the US
       Debtors came to the understanding that at the time o f the Rockstar transaction the value
       o f the US Debtors' rights with respect to Nortel's intellectual property had changed.

23.    The facts and documents related to the US Debtors understanding that the sale processes
       put in place to dispose of the Nortel Group's assets would not succeed if a selling party
       could hold up a sale pending agreement on the allocation of sale proceeds.

24.    The facts and documents upon which the US Debtors rely upon to assert that the Monitor
       and Canadian Debtors are estopped or should not otherwise be permitted to assert
       entitlement to all of the proceeds of the Rockstar transaction.

25.    The facts and documents demonstrating the estimated gross and net assets o f the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

                                                 4
        Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 6 of 102
           C a s e 09-10138-KG       Doc 12688-1     Filed 12/20/13     P a g e 6 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


26.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

27.     The facts and documents that relate to any other topics designated by any other parties for
        this witness.




                                                 5
        Case 09-10138-MFW            Doc 12749-17      Filed 01/03/14       Page 7 of 102
           C a s e 09-10138-KG       Doc 12688-1     Filed 12/20/13     P a g e 7 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


         Subjects for the Representative Witness of the Ad Hoc Group of Bondholders

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed himself or herself of the relevant facts,
including documentary support, known or available to that party, if any (through its
existing or former employees, officers and directors as the case may be) relating to the
following subjects, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The same subjects as those provided to the US Debtors.

2.     The terms of the Nortel Bonds, including the guarantees o f the Bonds and the
       enforceability of such guarantees.

3.     The expectations of the Bondholder Group with respect to any guarantees to proceeds
       from the line of business sales and Rockstar transaction, and to the Nortel assets available
       to satisfy creditors, and the Bondholder Group's expectations o f priority relative to other
       creditors in each of the US and Canadian Estates.

4.     The Claims asserted by the Ad Hoc Group of Bondholders in In re Nortel Networks Inc.
       et al, case No. 09-10138 (KG) (jointly administered), including but not limited to the
       subjects addressed in any Bankruptcy Rule 2019 Statements regarding membership of the
       Bondholder Group and member holdings of the bonds, and the current facts respecting
       such subjects as o f the deposition o f the Bondholder Group representative witness.




                                                6
        Case 09-10138-MFW            Doc 12749-17     Filed 01/03/14     Page 8 of 102
           C a s e 09-10138-KG      Doc 12688-1     Filed 12/20/13   P a g e 8 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                        Subjects for the Representative Witness of the UCC

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed himself or herself of the relevant facts,
including documentary support, known or available to that party, if any (through its
existing or former employees, officers and directors as the case may be) relating to the
following subjects, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The same subjects as those provided to the US Debtors.




                                                7
        Case 09-10138-MFW            Doc 12749-17      Filed 01/03/14      Page 9 of 102
           C a s e 09-10138-KG       Doc 12688-1    Filed 12/20/13     P a g e 9 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                          Subjects for NNUK Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The facts and documents, other than the MRDA, demonstrating NNUK's understanding
       o f the phrase "equitable and beneficial ownership" as used in the ownership interests that
       NNUK allegedly,had in any of the intellectual property sold in the line of business sales
       and in the Rockstar transaction.

2.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the MRDA.

3.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

4.      The facts and documents demonstrating Nortel's processes for the identification and
        development of products, as they varied over time before and after January 14, 2009.

5.      The scope and use of third-party products and components used or embodied in Nortel
        products and the marketing of third party Original Equipment Manufacturer products by
        Nortel.

6.     The value NNUK attributes to tangible assets and intangible assets other than intellectual
       property sold as part of each of the line of business sales and the Rockstar transaction,
       including without limitation goodwill and customer relationships, and all factual bases for
       those values, and what amounts should be allocated to each of the estates with respect
       thereto.

7.     The facts and documents evidencing (1) the amounts that NNL, NNI, NN Ireland,
       NNUK, and NNSA paid for direct funding o f research and development from 2001 and
       2009; and (2) the .amounts that NNUK contends were paid in transfer pricing adjustments
       under the Nortel transfer pricing model between 2001 and 2009.




                                                8
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14      Page 10 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13     P a g e 10 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

8.     The factual and documentary basis for any challenge NNUK intends to make to the
       entitlement o f NNL to a Compensating Adjustment for the excess transfer pricing
       payments credited to NNUK for the years 2001 through 2005 inclusive corresponding to
       the $2 billion amount credited to NNI for those same years under the MRDA and
       particularized in paragraph 317 of the Joint Response of the Monitor and the Canadian
       Debtors to the Claims Filed on behalf of the EMEA Claimants.

9.     The current status of any ongoing (or outcome of any historical) audit by Inland Revenue
       (HMRC) of NNUK's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

10.    The facts and documents that establish any expectations that NNUK will rely on as the
       basis for its oppression remedy claims relating to its participation in the MRDA and
       transfer pricing arrangements, including the circumstances giving rise to, the particulars
       o f and the identity of the individuals who held those expectations as well as in relation to
       any allegation or claim that Nortel Canada acted in bad faith, oppressively, or otherwise
       improperly in respect of such pension plan.

11.    The factual and documentary basis for the allegation that stewardship (head office) costs
       should have been excluded from RPS calculation from 2006 onwards and the basis for
       calculating the amounts for each year and any corresponding transfer pricing adjustment
       claimed for that year.

12.    The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

13.    The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

14.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

15.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

16.     The factual and documentary basis for any claims arising from the treatment of UK
        pension obligations under US GAAP for the purposes o f transfer pricing and that entitle
        NNUK or Nortel Networks UK Pension Trust Limited or the PPF to any relief. On what
        basis was NNUK or the NNUK Pension Scheme worse off by the treatment o f all Nortel

                                                  9
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14       Page 11 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13     P a g e 11 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       pension plans under US GAAP for transfer pricing purposes? On what basis and upon
       what evidence is a claim made that any funds (or lower losses) that might be claimed for
       NNUK would have altered the position of NNUK or the NNUK Pension Scheme as at the
       date of insolvency.

17.    The facts that support the claim that NNUK pension funding should have been pooled or
       otherwise funded or compensated for by entities other than NNUK by means of the
       transfer pricing methodology or otherwise in the RPS.

18.    The facts and documents relating to the amount o f any alleged deficit or amount owing in
       respect of the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation o f such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such "amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

19.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf of the
       EMEA Claimants and the basis, i f any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt.

20.    The factual and documentary basis for and calculation of the amount of any claims
       relating to the allocation of proceeds or any other aspect o f past dispositions o f businesses
       including the following noted in the particulars of the proofs of claims: sales to
       AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM (and any others).

21.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach of de facto director or de jure
       and/or shadow director duties. Identification of the individual Directors & Officers
       against whom claims are being asserted, and in respect of each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification of the damages alleged to have been suffered as a result o f the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject o f examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject o f examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.




                                                 10
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 12 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 12 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

22.    The facts and documents that demonstrate the timing and source of evidence to support
       the issuance o f claims or threatened and tolled claims against individually named
       directors of NNUK.

23.    The timing and source of discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

24.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

25.    The circumstances of alleged insolvency, near insolvency threats or risks o f insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any after January 1999 until November/December 2008, and that
       establish when this state arose and for how long it persisted to the extent the contention is
       predicated on circumstances other than liabilities exceeding assets and/or the existence of
       a going concern note in audited financial statements.

26.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date o f insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

27.     The facts and documents that form the basis for any claims for resulting trust,
        constructive trust or any other claims for proprietary estoppel or equitable claims and that
        disclose the particular basis for any equitable or proprietary claim being pursued.

28.    The facts and documents that demonstrate the factual components o f the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "W" o f the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the unauthorized return o f capital.

29.    The facts and documents demonstrating the estimated gross and net assets o f the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.




                                                 11
       Case 09-10138-MFW             Doc 12749-17      Filed 01/03/14     Page 13 of 102
           C a s e 09-10138-KG      Doc 12688-1      Filed 12/20/13   P a g e 13 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

30.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.




                                                12
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 14 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13    P a g e 14 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                      Subjects for NN Germany Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The factual and ^documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Germany attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome o f any historical) audit by any taxation
       authority of NN Germany's tax filings and/or the tax authority's challenges of the
       transfer pricing adjustments, routine returns reflected therein, the basis or alleged basis
       therefor including challenges to the routine returns - including distribution returns - or
       any other element of the transfer pricing reflected therein, and the position taken in
       response thereto and any actual payments or expected payments of taxes, interest or
       penalties to the taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Germany will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity of the individuals who held those expectations as well
       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect o f such pension plan.




                                                13
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14       Page 15 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13      P a g e 15 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside o f the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount o f any alleged deficit or amount owing in
       respect of the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf of the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

14.    The factual and documentary basis for and calculation o f the amount of any claims
       relating to the allocation of proceeds or any other aspect o f past dispositions of businesses
       including the following noted in the particulars of the proofs of claims: sales to
       AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM, (and any others).

15.     The facts and documents that demonstrate (i) decisions alleged to have been made or not
        made, (ii) contracts or transactions alleged to have been approved or not approved, and
        (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
        at what meeting and/or by which resolution) in breach of de facto director or de jure
        and/or shadow director duties. Identification of the individual Directors & Officers
        against whom claims are being asserted, and in respect of each such individual, which
        decisions, contracts, transactions or other conduct are the subject of the claims made
        against them, and by which EMEA entity or entities (collectively, the "Impugned

                                                 14
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 16 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13    P a g e 16 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       Conduct"). Identification o f the damages alleged to have been suffered as a result of the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or .documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source of discovery and particulars o f any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "E" o f the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the destructive intervention/breach o f capital
       maintenance rules.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding
       intercompany claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines o f credit and guarantees, received by the Estate from


                                                15
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 17 of 102
          C a s e 09-10138-KG       D o c 12688-1     Filed 12/20/13    P a g e 17 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 16
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 18 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13     P a g e 18 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                      Subjects for NN Austria Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses: w

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use o f third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Austria attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NN Austria's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Austria will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity of the individuals who held those expectations as well
       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect of such pension plan.




                                                17
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14      Page 19 of 102
          C a s e 09-10138-KG       Doc 12688-1        Filed 12/20/13     P a g e 19 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect of the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf o f the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt.

14.     The factual and documentary basis for and calculation of the amount of any claims
        relating to the allocation of proceeds or any other aspect o f past dispositions of businesses
        including the following noted in the particulars of the proofs of claims: sales to
        AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM (and any others).

15.     The facts and documents that demonstrate (i) decisions alleged to have been made or not
        made, (ii) contracts or transactions alleged to have been approved or not approved, and
        (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
        at what meeting and/or by which resolution) in breach of de facto director or de jure
        and/or shadow director duties. Identification of the individual Directors & Officers
        against whom claims are being asserted, and in respect of each such individual, which
        decisions, contracts, transactions or other conduct are the subject of the claims made
        against them, and by which EMEA entity or entities (collectively, the "Impugned
        Conduct"). Identification of the damages alleged to have been suffered as a result o f the

                                                  18
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 20 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13    P a g e 20 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject o f examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source o f discovery and particulars o f any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks o f insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate the factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "F" o f the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the breach of capital maintenance rules.

22.    The facts and documents demonstrating the estimated gross and net assets o f the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.


                                                19
       Case 09-10138-MFW             Doc 12749-17       Filed 01/03/14      Page 21 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 21 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 20
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14     Page 22 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13   P a g e 22 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors




                        Subjects for NN Ireland Representative Witness


The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The facts and documents, other than the MRDA, demonstrating NN Ireland's
       understanding of the phrase "equitable and beneficial ownership" as used in the
       ownership interests that NN Ireland allegedly had in any of the intellectual property sold
       in the line of business sales and in the Rockstar transaction.

2.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the MRDA.

3.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

4.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

5.     The scope and use o f third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

6.     The value NN Ireland attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

7.     The facts and documents evidencing (1) the amounts that NNL, NNI, NN Ireland,
       NNUK, and NNSA paid for direct funding of research and development from 2001 and
       2009; and (2) the amounts that NN Ireland contends were paid in transfer pricing
       adjustments under the Nortel transfer pricing model between 2001 and 2009.

8.     The factual and documentary basis for any challenge NN Ireland intends to make to the
       entitlement of NNL to a Compensating Adjustment for the excess transfer pricing
       payments credited to NN Ireland for the years 2001 through 2005 inclusive




                                                21
       Case 09-10138-MFW             Doc 12749-17         Filed 01/03/14       Page 23 of 102
          C a s e 09-10138-KG        Doc 12688-1        Filed 12/20/13     P a g e 23 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors


       corresponding to the $2 billion amount credited to NNI for those same years under the
       MRDA and particularized in paragraph 317 of the Joint Response of the Monitor and the
       Canadian Debtors to the Claims Filed on behalf of the EMEA Claimants.

9.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NN Ireland's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments o f taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

10.    The facts and documents that establish any expectations that NN Ireland will rely on as
       the basis for its oppression remedy claims relating to its participation in the MRDA and
       transfer pricing arrangements, including the circumstances giving rise to, the particulars
       of and the identity of the individuals who held those expectations as well as in relation to
       any allegation or claim that Nortel Canada acted in bad faith, oppressively, or otherwise
       improperly in respect of such pension plan.

11.    The factual and documentary basis for the allegation that stewardship (head office) costs
       should have been excluded from RPS calculation from 2006 onwards and the basis for
       calculating the amounts for each year and any corresponding transfer pricing adjustment
       claimed for that year.

12.     The factual and documentary basis for any claim that restructuring costs incurred should
        be reimbursed and the basis for calculating the amounts for each year and any
        corresponding transfer pricing adjustment claimed for that year.

13.     The factual and documentary basis for any claim that it did not get appropriate credit for
        customer revenues, the details of which customers, the dates and amounts of associated
        revenues claimed, which other entity received the claimed revenues and the basis for
        adjusting for these revenues outside of the transfer pricing arrangements.

14.     The factual and documentary basis for any claims arising from having participated in
        vendor financing arrangements for Nortel customers and that demonstrate that it was that
        it was worse off on a net basis for having done so.

15.     The facts and documents that demonstrate that a particular financial or accounting
        practice was unfair to that the party and the basis on which it claims to have been unable
        to represent itself, and its interests in respect of the practice, or that would be indicative of
        any deficiencies with respect to the party's financial statements or audits.

16.     The facts that support the claim that pension funding should have been pooled or
        otherwise funded or compensated for by entities other than NN Ireland by means of the
        transfer pricing methodology or otherwise in the RPS.




                                                   22
       Case 09-10138-MFW             Doc 12749-17        Filed 01/03/14       Page 24 of 102
          C a s e 09-10138-KG       Doc 12688-1        Filed 12/20/13     P a g e 24 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors


17.    The facts and documents relating to the amount o f any alleged deficit or amount owing in
       respect o f the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

18.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf of the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

19.     The factual and documentary basis for and calculation of the amount of any claims
        relating to the allocation o f proceeds or any other aspect of past dispositions o f businesses
        including the following noted in the particulars of the proofs of claims: sales to
        AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM (and any others).

20.     The facts and documents that demonstrate (i) decisions alleged to have been made or not
        made, (ii) contracts or transactions alleged to have been approved or not approved, and
        (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
        at what meeting and/or by which resolution) in breach of de facto director or de jure
        and/or shadow director duties. Identification o f the individual Directors & Officers
        against whom claims are being asserted, and in respect of each such individual, which
        decisions, contracts, transactions or other conduct are the subject of the claims made
        against them, and by which EMEA entity or entities (collectively, the "Impugned
        Conduct"). Identification of the damages alleged to have been suffered as a result of the
        Impugned Conduct, including the amount of such damages and the EMEA Debtor or
        Debtors alleged to have suffered such damage. Where Impugned Conduct has already
        been the subject of examination during previous depositions, confirmation that there are
        no other facts or documents in respect of such Impugned Conduct on which the EMEA
        Debtors are relying. Where Impugned Conduct has not been the subject of examination
        during previous depositions, particulars of the facts and documents on which the EMEA
        Debtors are relying.

21.     The facts and documents that demonstrate the timing and source of evidence to support
        the issuance of claims or threatened and tolled claims against individually named
        directors o f NN Ireland.




                                                  23
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 25 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13     P a g e 25 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


22.    The timing and source o f discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings o f the JA's in both the UK
       and the US courts.

23.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

24.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

25.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

26.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

27.    The facts and documents that demonstrate the factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "G" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the unauthorized return of capital.

28.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

29.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.




                                                24
       Case 09-10138-MFW             Doc 12749-17       Filed 01/03/14      Page 26 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 26 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors




30.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 25
        Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 27 of 102
           C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13    P a g e 27 of 1 2 4


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

                        Subjects for NN Sweden Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.      The factual and documentary basis for and scope of the alleged beneficial/equitable
        interest and licence in Nortel's intellectual property by parties other than NNL, and the
        past practices of NNL and its subsidiaries concerning the scope of the licenses to
        intellectual property under the Cost-Sharing Agreements and the other inter-company
        licensing agreements.

2.      The facts and documents demonstrating how and to what extent intellectual property was
        assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.      The facts and documents demonstrating Nortel's processes for the identification and
        development of products, as they varied over time before and after January 14, 2009.

4.      The scope and use of third-party products and components used or embodied in Nortel
        products and the marketing of third party Original Equipment Manufacturer products by
        Nortel.

5.      The value NN Sweden attributes to tangible assets and intangible assets other than
        intellectual property sold as part of each of the line of business sales and the Rockstar
        transaction, including without limitation goodwill and customer relationships, and all
        factual bases for those values, and what amounts should be allocated to each o f the
        estates with respect thereto.

6.      The current status of any ongoing (or outcome o f any historical) audit by any taxation
        authority of NN Sweden's tax filings and/or the tax authority's challenges of the transfer
        pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
        including challenges to the routine returns - including distribution returns - or any other
        element of the transfer pricing reflected therein, and the position taken in response thereto
        and any actual payments or expected payments o f taxes, interest or penalties to the
        taxation authority and the basis for the calculation thereof.

7.      The facts and documents that establish any expectations that NN Sweden will rely on as
        the basis for its oppression remedy claims relating to its participation in the Distribution
        Agreement and transfer pricing arrangements, including the circumstances giving rise to.
        the particulars of and the identity o f the individuals who held those expectations as well
        as in relation to any allegation or claim that Nortel Canada acted in bad faith,
        oppressively, or otherwise improperly in respect o f such pension plan.

8.      The factual and documentary basis for any claim that restructuring costs incurred should
        be reimbursed and the basis for calculating the amounts for each year and any
        corresponding transfer pricing adjustment claimed for that year.

                                                 26
       Case 09-10138-MFW             Doc 12749-17        Filed 01/03/14       Page 28 of 102
           C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13      P a g e 28 of 1 2 4

Representative Witness Subjects Served by the
Monitor and the Canadian Debtors


9.      The factual and documentary basis for any claim that it did not get appropriate credit for
        customer revenues, the details of which customers, the dates and amounts o f associated
        revenues claimed, which other entity received the claimed revenues and the basis for
        adjusting for these revenues outside o f the transfer pricing arrangements.

10.     The factual and documentary basis for any claims arising from having participated in
        vendor financing arrangements for Nortel customers and that demonstrate that it was that
        it was worse off on a net basis for having done so.

11.     The facts and documents that demonstrate that a particular financial or accounting
        practice was unfair to that the party and the basis on which it claims to have been unable
        to represent itself and its interests in respect of the practice, or that would be indicative of
        any deficiencies with respect to the party's financial statements or audits.

IQr.    The facto that support the claim that the pension funding should have been pooled or
        othorwiGC funded or compensated for by ontitios ot r
                                                           he   than NNUK by means of ht e
        transfer pricing methodology or otherwise in the RPS.

12.     The facts and documents relating to the amount of any alleged deficit or amount owing in
        respect o f the pension plan, including but not limited to: (i) the basis of the calculation of
        such amounts; (ii) the assumptions used in the calculation o f such amounts; (iii) the
        potential costs of annuitizing member's benefits; (iv) the information that the pension
        trustee or administrator provided to its pension advisors and consultants to enable them to
        calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
        (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
        deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
        pensioners whose* pensions have been reduced.

13.     The facts and documents that demonstrate any different amounts claimed to be owing
        and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
        Response o f the Monitor and Canadian Debtors to the Claims Filed on behalf of the
        EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
        the party is anything other than an unsecured debt.

14.     The facts that form the basis for and calculation of the amount of any claims relating to
        the allocation of proceeds or any other aspect of past dispositions of businesses including
        the following noted in the particulars o f the proofs o f claims: sales to AASTRA, Andrew,
        Bookham, Breconridge, Metasolv, STM (and any others).

15.     The facts and documents that demonstrate (i) decisions alleged to have been made or not
        made, (ii) contracts or transactions alleged to have been approved or not approved, and
        (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
        at what meeting and/or by which resolution) in breach of de facto director or de jure
        and/or shadow director duties. Identification o f the individual Directors & Officers
        against whom claims are being asserted, and in respect of each such individual, which
        decisions, contracts, transactions or other conduct are the subject of the claims made
        against them, and by which EMEA entity or entities (collectively, the "Impugned


                                                  27
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 29 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13     P a g e 29 of 1 2 4

Representative Witness Subjects Served by the
Monitor and the Canadian Debtors


       Conduct"). Identification of the damages alleged to have been suffered as a result o f the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect o f such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject o f examination
       during previous depositions, particulars o f the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source of discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings o f the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years o f these events.

18.    The circumstances o f alleged insolvency, near insolvency threats or risks o f insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date o f insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "H" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf o f the
       EMEA Claimants.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from


                                                28
       Case 09-10138-MFW             Doc 12749-17       Filed 01/03/14      Page 30 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 30 of 1 2 4

Representative Witness Subjects Served by the
Monitor and the Canadian Debtors


       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 29
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 31 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13     P a g e 3 1 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                       Subjects for NN Holland Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Holland attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority o f NN Holland's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element o f the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Holland will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity o f the individuals who held those expectations a

                                                30
       Case 09-10138-MFW             Doc 12749-17         Filed 01/03/14       Page 32 of 102
           C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13      P a g e 32 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


       relation to any allegation or claim that Nortel Canada acted in bad faith, oppressively, or
       otherwise improperly in respect of such pension plan.

8.      The factual and documentary basis for any claim that restructuring costs incurred should
        be reimbursed and the basis for calculating the amounts for each year and any
        corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details o f which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside o f the transfer pricing arrangements.

10.     The factual and documentary basis for any claims arising from having participated in
        vendor financing arrangements for Nortel customers and that demonstrate that it was that
        it was worse off on a net basis for having done so.

11.     The facts and documents that demonstrate that a particular financial or accounting
        practice was unfair to that the party and the basis on which it claims to have been unable
        to represent itself and its interests in respect of the practice, or that would be indicative of
        any deficiencies with respect to the party's financial statements or audits.

12.     The facts and documents relating to the amount of any alleged deficit or amount owing in
        respect of the pension plan, including but not limited to: (i) the basis of the calculation of
        such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
        potential costs o f annuitizing member's benefits; (iv) the information that the pension
        trustee or administrator provided to its pension advisors and consultants to enable them to
        calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
        (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
        deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
        pensioners whose pensions have been reduced.

13.     The facts and documents that demonstrate any different amounts claimed to be owing
        and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
        Response of the Monitor and Canadian Debtors to the Claims Filed on behalf of the
        EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
        the party is anything other than an unsecured debt and/or they are alleged to owe the
        Canadian Debtors.

14.     The facts that form the basis for and calculation of the amount o f any claims relating to
        the allocation o f proceeds or any other aspect of past dispositions of businesses including
        the following noted in the particulars o f the proofs of claims: sales to AASTRA, Andrew,
        Bookham, Breconridge, Metasolv, STM (and any others).
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14     Page 33 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13   P a g e 3 3 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach o f de facto director or de jure
       and/or shadow director duties. Identification of the individual Directors & Officers
       against whom claims are being asserted, and in respect of each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification of the damages alleged to have been suffered as a result of the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source o f discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date o f insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.




                                                32
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 34 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 3 4 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


20.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate the factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "I" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the mismanagement.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 33
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 35 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13     P a g e 3 5 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                       Subjects for NN Hungary Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.     The factual and'documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Hungary attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome o f any historical) audit by any taxation
       authority o f NN Hungary's tax filings tax filings and/or the tax authority's challenges of
       the transfer pricing adjustments, routine returns reflected therein, the basis or alleged
       basis therefor including challenges to the routine returns - including distribution returns -
       or any other element of the transfer pricing reflected therein, and the position taken in
       response thereto and any actual payments or expected payments of taxes, interest or
       penalties to the taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Hungary will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity of the individuals who held those expectations as well

                                                34
       Case 09-10138-MFW             Doc 12749-17         Filed 01/03/14       Page 36 of 102
          C a s e 09-10138-KG       Doc 12688-1        Filed 12/20/13      P a g e 3 6 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect of such pension plan.

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside o f the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing .arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.     The facts and documents that demonstrate that a particular financial or accounting
        practice was unfair to that the party and the basis on which it claims to have been unable
        to represent itself and its interests in respect of the practice, or that would be indicative of
        any deficiencies with respect to the party's financial statements or audits.

12.     The facts and documents relating to the amount of any alleged deficit or amount owing in
        respect of the pension plan, including but not limited to: (i) the basis of the calculation of
        such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
        potential costs of annuitizing member's benefits; (iv) the information that the pension
        trustee or administrator provided to its pension advisors and consultants to enable them to
        calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
        (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
        deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
        pensioners whose pensions have been reduced.

13.     The facts and documents that demonstrate any different amounts claimed to be owing
        and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
        Response of the Monitor and Canadian Debtors to the Claims Filed on behalf o f the
        EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
        the party is anything other than an unsecured debt.

14.     The factual and documentary basis for and calculation of the amount of any claims
        relating to the allocation of proceeds or any other aspect o f past dispositions of businesses
        including the following noted in the particulars of the proofs of claims: sales to
        AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM (and any others).


                                                  35
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14     Page 37 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13   P a g e 3 7 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach of de facto director or de jure
       and/or shadow director duties. Identification of the individual Directors & Officers
       against whom claims are being asserted, and in respect of each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification of the damages alleged to have been suffered as a result of the
       Impugned Conduct, including the amount o f such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source o f discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs o f claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until January 2009, and that establish
       when this state arose and for how long it persisted to the extent the contention is
       predicated on circumstances other than the existence of a going concern note in audited
       financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.




                                                36
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14      Page 38 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13     P a g e 38 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


20.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate the factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "J" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the disguised dividend.

22.    The facts and documents demonstrating the estimated gross and net assets o f the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.     The facts and documents demonstrating Funds and other financial accommodations,
        including, without limitation, lines of credit and guarantees, received by the Estate from
        NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
        booked by the Estate.

24.     The facts that relate to any other topics designated by any other parties for this witness.




                                                 37
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 39 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13    P a g e 39 of 1 2 4


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

                         Subjects for NNSAS Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have, been fully canvassed with the fact deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing o f third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NNSAS attributes to tangible assets and intangible assets other than
       intellectual property sold as part o f each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome o f any historical) audit by any taxation
       authority of NNSAS's tax filings and/or the tax authority's challenges o f the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NNSAS will rely on as the
       basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars o f and the identity o f the individuals who held those expectations as well
       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect o f such pension plan.

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

                                                38
       Case 09-10138-MFW             Doc 12749-17        Filed 01/03/14       Page 40 of 102
          C a s e 09-10138-KG       Doc 12688-1        Filed 12/20/13     P a g e 4 0 of 1 2 4

Representative Witness Subjects Served by the
Monitor and the Canadian Debtors


9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details o f which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect o f the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

4-2^   The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that tho party and the basis on which it claims to have boon unable
       to represent itself and its interests in respect o f the practice, or that would be indicative of
       any deficioncios with respect to tho party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect of the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts that demonstrate any different amounts claimed to be owing and/or payable to
       or by them to NNL than what is set forth in Schedule "B" to the Joint Response o f the
       Monitor and Canadian Debtors to the Claims Filed on behalf of the EMEA Claimants and
       the basis, if any, for claiming that amounts said to be "owing" to the party is anything
       other than an unsecured debt.

14.    The facts and documentary basis for and calculation of the amount of any claims relating
       to the allocation of proceeds or any other aspect o f past dispositions of businesses
       including the following noted in the particulars of the proofs of claims: sales to
       AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM, (and any others).

15.    The facts that demonstrate (i) decisions alleged to have been made or not made, (ii)
       contracts or transactions alleged to have been approved or not approved, and (iii) any
       other conduct by EMEA BOD's (including which BOD, which members, when, at what
       meeting and/or by which resolution) in breach of de facto director or de jure and/or
       shadow director duties. Identification o f the individual Directors & Officers against
       whom claims are being asserted, and in respect of each such individual, which decisions,
       contracts, transactions or other conduct are the subject o f the claims made against them,


                                                  39
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 41 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13    P a g e 4 1 of 1 2 4

Representative Witness Subjects Served by the
Monitor and the Canadian Debtors


       and by which EMEA entity or entities (collectively, the "Impugned Conduct").
       Identification of the damages alleged to have been suffered as a result of the Impugned
       Conduct, including the amount of such damages and the EMEA Debtor or Debtors
       alleged to have suffered such damage. Where Impugned Conduct has already been the
       subject o f examination during previous depositions, confirmation that there are no other
       facts or documents in respect of such Impugned Conduct on which the EMEA Debtors
       are relying. Where Impugned Conduct has not been the subject of examination during
       previous depositions, particulars of the facts and documents on which the EMEA Debtors
       are relying.

16.    The timing and source o f discovery and particulars o f any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were-not made within two years of the events now complained about.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence o f a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.    The facts and documents that form the basis for any claims for resulting trust,
       constructive trust or any other claims for proprietary estoppel or equitable claims and that
       disclose the particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that establish the factual components o f the pleaded
       quirements for certain foreign law assertions disclosed in Schedule "K" of the Joint
       re
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants.

22.    The facts and documents demonstrating the estimated gross and net assets o f the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate o f valid claims (by creditor category) against the Estate, excluding inter­
       company claims.'




                                                40
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 42 of 102
          C a s e 09-10138-KG      Doc 12688-1        Filed 12/20/13    P a g e 4 2 of 1 2 4

Representative Witness Subjects Served by the
Monitor and the Canadian Debtors


23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 41
       Case 09-10138-MFW            Doc 12749-17          Filed 01/03/14    Page 43 of 102
           C a s e 09-10138-KG      Doc 1 2 6 8 8 - 1   Filed 12/20/13   P a g e 43 of 1 2 4


Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                         Subjects for NN Spain Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself o f the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.      The factual and documentary basis for and scope of the alleged beneficial/equitable
        interest and licence in Nortel's intellectual property by parties other than NNL, and the
        past practices of NNL and its subsidiaries concerning the scope of the licenses to
        intellectual property under the Cost-Sharing Agreements and the other inter-company
        licensing agreements.

2.      The facts and documents demonstrating how and to what extent intellectual property was
        assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.      The facts and documents demonstrating Nortel's processes for the identification and
        development of products, as they varied over time before and after January 14, 2009.

4.      The scope and use of third-party products and components used or embodied in Nortel
        products and the marketing o f third party Original Equipment Manufacturer products by
        Nortel.

5.      The value NN Spain attributes to tangible assets and intangible assets other than
        intellectual property sold as part of each of the line of business sales and the Rockstar
        transaction, including without limitation goodwill and customer relationships, and all
        factual bases for those values, and what amounts should be allocated to each of the
        estates with respect thereto.

6.      The current status of any ongoing (or outcome of any historical) audit by any taxation
        authority of NN Spain's tax filings and/or the tax authority's challenges of the transfer
        pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
        including challenges to the routine returns - including distribution returns - or any other
        element of the transfer pricing reflected therein, and the position taken in response thereto
        and any actual payments or expected payments o f taxes, interest or penalties to the
        taxation authority and the basis for the calculation thereof.

7.      The facts and documents that establish any expectations that NN Spain will rely on as the
        basis for its oppression remedy claims relating to its participation in the Distribution
        Agreement and transfer pricing arrangements, including the circumstances giving rise to,
        the particulars of and the identity o f the individuals who held those expectations as well
        as in relation to any allegation or claim that Nortel Canada acted in bad faith,
        oppressively, or otherwise improperly in respect o f such pension plan.




                                                   42
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14       Page 44 of 102
          C a s e 09-10138-KG       Doc 12688-1        Filed 12/20/13     P a g e 4 4 of 1 2 4


Representative Witness Subjects Served by the
Monitor and Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts o f associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect o f the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect o f the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response o f the Monitor and Canadian Debtors to the Claims Filed on behalf of the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

14.    The facts that form the basis for and calculation of the amount o f any claims relating to
       the allocation o f proceeds or any other aspect of past dispositions o f businesses including
       the following noted in the particulars of the proofs o f claims: sales to AASTRA, Andrew,
       Bookham, Breconridge, Metasolv, STM (and any others).

15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach of de facto director or de jure
       and/or shadow director duties. Identification o f the individual Directors & Officers
       against whom claims are being asserted, and in respect of each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made


                                                  43
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 45 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 4 5 of 1 2 4


Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification of the damages alleged to have been suffered as a result o f the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source o f discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings o f the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.     The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
        or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
        any given date from any time after January 1999 until November/December 2008, and
        that establish when this state arose and for how long it persisted to the extent the
        contention is predicated on circumstances other than liabilities exceeding assets and/or
        the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.     The facts and documents that support any claims for resulting trust, constructive trust or
        any other claims for proprietary estoppel or equitable claims and that disclose the
        particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "L" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf o f the
       EMEA Claimants.

22.     The facts and documents demonstrating the estimated gross and net assets of the Estate
        available for distribution to creditors, without recourse to the allocation proceeds, and the
        best estimate of valid claims (by creditor category) against the Estate, excluding inter­
        company claims.




                                                 44
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 46 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 4 6 of 1 2 4


Representative Witness Subjects Served by the
Monitor and Canadian Debtors

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 45
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 47 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13    Page 47 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                          Subjects for NNIF Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The factual and -documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope o f the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NNIF attributes to tangible assets and intangible assets other than intellectual
       property sold as part of each of the line of business sales and the Rockstar transaction,
       including without limitation goodwill and customer relationships, and all factual bases for
       those values, and what amounts should be allocated to each of the estates with respect
       thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NNIF's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NNIF will rely on as the
       basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity of the individuals who held those expectations as well
       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect of such pension plan.




                                                46
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14      Page 48 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13      Page 48 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside o f the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect of the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation o f such amounts; (iii) the
       potential costs o f annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf o f the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

14.    The factual and documentary basis for and calculation of the amount of any claims
       relating to the allocation of proceeds or any other aspect o f past dispositions o f businesses
       including the following noted in the particulars o f the proofs of claims: sales to
       AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM, (and any others).

15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach of de facto director or de jure
       and/or shadow director duties. Identification of the individual Directors & Officers
       against whom claims are being asserted, and in respect o f each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification of the damages alleged to have been suffered as a result of the

                                                 47
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 49 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13    Page 49 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source o f discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result o f that timing.

20.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate factual components o f the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "M" of the Joint
       Response o f the Monitor and the Canadian Debtors to the Claims.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.




                                                48
        Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 50 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13    Page 50 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 49
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 51 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13     Page 51 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                       Subjects for NN Belgium Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Belgium attributes to tangible assets and intangible assets other than
       intellectual property sold as part o f each of the line o f business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority o f NN Belgium's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element o f the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Belgium will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity o f the individuals who held those expectations as well

                                                50
       Case 09-10138-MFW             Doc 12749-17        Filed 01/03/14       Page 52 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13      Page 52 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect of such pension plan.

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount o f any alleged deficit or amount owing in
       respect of the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation o f such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf of the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

14.    The factual and documentary basis for and calculation of the amount of any claims
       relating to the allocation of proceeds or any other aspect of past dispositions of businesses
       including the following noted in the particulars of the proofs of claims: sales to
       AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM (and any others).

                                                 51
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 53 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13     Page 53 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach o f de facto director or de jure
       and/or shadow director duties. Identification of the individual Directors & Officers
       against whom claims are being asserted, and in respect o f each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification of the damages alleged to have been suffered as a result of the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.     The timing and source of discovery and particulars of any "new" evidence that came to
        light after the Rolston and Clement statements filed in connection with the UK COMI
        application in 2009 that is relied upon to contradict or supersede any matters that were
        attested to in those statements or in the accompanying filings of the JA's in both the UK
        and the US courts.

17.     The facts and documents that explain why the claims predicated on events that occurred
        more than two years before the proofs o f claim were filed in the Canadian CCAA
        proceedings were not made within two years of these events.

18.     The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
        or being in the zone o f insolvency, or in doubtful solvency, or poor financial condition at
        any given date from any time after January 1999 until November/December 2008, and
        that establish when this state arose and for how long it persisted to the extent the
        contention is predicated on circumstances other than liabilities exceeding assets and/or
        the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.




                                                52
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 54 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13     Page 54 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


20.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate the factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "N" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the disguised dividend.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate o f valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                53
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 55 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13    Page 55 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                       Subjects for NN Finland Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices o f NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Finland attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each o f the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NN Finland's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments o f taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Finland will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity of the individuals who held those expectations as well

                                                54
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14       Page 56 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13      Page 56 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect of such pension plan.

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts o f associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.     The facts and documents relating to the amount of any alleged deficit or amount owing in
        respect of the pension plan, including but not limited to: (i) the basis of the calculation of
        such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
        potential costs of annuitizing member's benefits; (iv) the information that the pension
        trustee or administrator provided to its pension advisors and consultants to enable them to
        calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
        (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
        deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
        pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response o f the -Monitor and Canadian Debtors to the Claims Filed on behalf of the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

14.     The factual and documentary basis for and calculation of the amount of any claims
        relating to the allocation o f proceeds or any other aspect of past dispositions of businesses
        including the following noted in the particulars o f the proofs of claims: sales to
        AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM (and any others).

                                                 55
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14     Page 57 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13   Page 57 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach of de facto director or de jure
       and/or shadow director duties. Identification o f the individual Directors & Officers
       against whom claims are being asserted, and in respect of each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification of the damages alleged to have been suffered as a result o f the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source o f discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date o f insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.




                                                56
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14      Page 58 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13     Page 58 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


20.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate the factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "O" o f the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the disguised dividend.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.     The facts and documents demonstrating Funds and other financial accommodations,
        including, without limitation, lines of credit and guarantees, received by the Estate from
        NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
        booked by the Estate.

24.     The facts that relate to any other topics designated by any other parties for this witness.




                                                 57
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 59 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13    Page 59 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                        Subjects for NN Poland Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements,

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Poland attributes to tangible assets and intangible assets other than
       intellectual property sold as part o f each of the line o f business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NN Poland's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element o f the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Poland will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars o f and the identity o f the individuals who held those expectations as well

                                                 58
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14       Page 60 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13      Page 60 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect o f such pension plan.

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect o f the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount o f any alleged deficit or amount owing in
       respect o f the pension plan, including but not limited to: (i) the basis o f the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf of the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

14.    The factual and documentary basis for and calculation of the amount of any claims
       relating to the allocation of proceeds or any other aspect of past dispositions of businesses
       including the following noted in the particulars of the proofs of claims: sales to
       AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM (and any others).
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14     Page 61 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13   Page 61 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach o f de facto director or de jure
       and/or shadow director duties. Identification of the individual Directors & Officers
       against whom claims are being asserted, and in respect o f each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification of the damages alleged to have been suffered as a result of the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject o f examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject o f examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source of discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs o f claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances o f alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result o f that timing.




                                                60
       Case 09-10138-MFW             Doc 12749-17        Filed 01/03/14      Page 62 of 102
          C a s e 09-10138-KG       Doc 12688-1        Filed 12/20/13    P a g e 62 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


20.    The facts and documents that support any claims for resulting trust, constructive trust or
       any other claims for proprietary estoppel or equitable claims and that disclose the
       particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate the factual components o f the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "P" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the disguised dividend.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.     The facts that relate to any other topics designated by any other parties for this witness.




                                                  61
        Case 09-10138-MFW            Doc 12749-17      Filed 01/03/14       Page 63 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13    P a g e 63 of 1 2 4


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

                       Subjects for NN Portugal Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing o f third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Portugal attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each o f the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each o f the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NN Portugal's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Portugal will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity of the individuals who held those expectations as well
       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect of such pension plan.




                                                62
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14       Page 64 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13      P a g e 6 4 of 1 2 4


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details o f which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect o f the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.     The facts that establish any different amounts claimed to be owing and/or payable to or
        by them to NNL than what is set forth in Schedule "B" to the Joint Response o f the
        Monitor and Canadian Debtors to the Claims Filed on behalf o f the EMEA Claimants and
        the basis, if any, for claiming that amounts said to be "owing" to the party is anything
        other than an unsecured debt.

14.     The facts that form the basis for and calculation of the amount of any claims relating to
        the allocation of proceeds or any other aspect of past dispositions of businesses including
        the following noted in the particulars of the proofs of claims: sales to AASTRA, Andrew,
        Bookham, Breconridge, Metasolv, STM, (and any others).

15.     The facts that establish (i) decisions alleged to have been made or not made, (ii) contracts
        or transactions alleged to have been approved or not approved, and (iii) any other conduct
        by EMEA BOD's (including which BOD, which members, when, at what meeting and/or
        by which resolution) in breach of de facto director or de jure and/or shadow director
        duties. Identification of the individual Directors & Officers against whom claims are
        being asserted, ^nd in respect of each such individual, which decisions, contracts,
        transactions or other conduct are the subject of the claims made against them, and by



                                                 63
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 65 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13     P a g e 6 5 of 1 2 4


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

       which EMEA entity or entities (collectively, the "Impugned Conduct"). Identification of
       the damages alleged to have been suffered as a result of the Impugned Conduct, including
       the amount of such damages and the EMEA Debtor or Debtors alleged to have suffered
       such damage. Where Impugned Conduct has already been the subject of examination
       during previous depositions, confirmation that there are no other facts or documents in
       respect of such Impugned Conduct on which the EMEA Debtors are relying. Where
       Impugned Conduct has not been the subject of examination during previous depositions,
       particulars o f the facts and documents on which the EMEA Debtors are relying.

16.    The timing and source of discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events now complained abou
                                                                                 t.

18.    The circumstances of alleged insolvency, near insolvency threats or risks o f insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.    The facts and documents that form the basis for any claims for resulting trust,
       constructive trust or any other claims for proprietary estoppel or equitable claims and that
       disclose the particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate the factual components o f the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "Q" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants.

22.    The facts and documents demonstrating the estimated gross and net assets o f the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.




                                                64
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14      Page 66 of 102
           C a s e 09-10138-KG      Doc 12688-1        Filed 12/20/13    P a g e 66 of 1 2 4


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

23.     The facts and documents demonstrating Funds and other financial accommodations,
        including, without limitation, lines of credit and guarantees, received by the Estate from
        NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
        booked by the Estate.

24.     The facts that relate to any other topics designated by any other parties for this witness.




                                                  65
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 67 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13    P a g e 67 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

                      Subjects for NN Romania Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing o f third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Romania attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NN Romania's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Romania will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity of the individuals who held those expectations and in
       relation to any allegation or claim that Nortel Canada acted in bad faith, oppressively, or
       otherwise improperly in respect of such pension plan.




                                                66
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14       Page 68 of 102
          C a s e 09-10138-KG       D o c 12688-1      Filed 12/20/13     P a g e 68 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details o f which customers, the dates and amounts o f associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect of the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate o f such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf o f the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

14.    The factual and documentary basis for and calculation of the amount o f any claims
       relating to the allocation o f proceeds or any other aspect o f past dispositions of businesses
       including the following noted in the particulars of the proofs of claims: sales to
       AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM, (and any others).

15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach of de facto director or de jure
       and/or shadow director duties. Identification of the individual Directors & Officers
       against whom claims are being asserted, and in respect of each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification o f the damages alleged to have been suffered as a result o f the

                                                  67
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 69 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13     P a g e 69 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject o f examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source o f discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs o f claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks o f insolvency,
       or being in the zone o f insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence o f a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.    The facts and documents that form the basis for any claims for resulting trust,
       constructive trust or any other claims for proprietary estoppel or equitable claims and that
       disclose the particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that establish the factual components of the pleaded
       requirements for'certain foreign law assertions disclosed in Schedule "R" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf o f the
       EMEA Claimants with respect to the unauthorized distribution of profit.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate o f valid claims Cbv creditor category) against the Estate, excluding
       intercompany claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received bv the Estate from
       NNL/NNC from January 1. 2000 to present and how such receipts were characterized and
       booked bv the Estate.


                                                68
       Case 09-10138-MFW             Doc 12749-17       Filed 01/03/14       Page 70 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 7 0 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 69
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 71 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 71 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                       Subjects for NN Czech Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.      The facts and documents demonstrating Nortel's processes for the identification and
        development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.      The value NN Czech attributes to tangible assets and intangible assets other than
        intellectual property sold as part o f each of the line of business sales and the Rockstar
        transaction, including without limitation goodwill and customer relationships, and all
        factual bases for those values, and what amounts should be allocated to each of the
        estates with respect thereto.

6.     The current status o f any ongoing (or outcome o f any historical) audit by any taxation
       authority o f NN Czech's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments o f taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.      The facts and documents that establish any expectations that NN Czech will rely on as
        the basis for its oppression remedy claims relating to its participation in the Distribution
        Agreement and transfer pricing arrangements, including the circumstances giving rise to,
        the particulars of and the identity of the individuals who held those expectations and in
        relation to any allegation or claim that Nortel Canada acted in bad faith, oppressively, or
        otherwise improperly in respect of such pension plan.




                                                 70
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14       Page 72 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13      P a g e 72 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts o f associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing "arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect o f the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf of the
       EMEA Claimants and the basis, i f any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

14.    The factual and .documentary basis for and calculation of the amount o f any claims
       relating to the allocation of proceeds or any other aspect o f past dispositions o f businesses
       including the following noted in the particulars of the proofs o f claims: sales to
       AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM, (and any others).

15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach o f de facto director or de jure
       and/or shadow director duties. Identification of the individual Directors & Officers
       against whom claims are being asserted, and in respect of each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned

                                                 71
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14       Page 73 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13     P a g e 73 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       Conduct"). Identification of the damages alleged to have been suffered as a result o f the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source of discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings o f the JA's in both the U K
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone o f insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a,going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result o f that timing.

20.    The facts and documents that form the basis for any claims for resulting trust,
       constructive trust or any other claims for proprietary estoppel or equitable claims and that
       disclose the particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that establish the factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "T" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants with respect to the unauthorized distribution of profit.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims fbv creditor category") against the Estate, excluding
       intercompany claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from



                                                72
       Case 09-10138-MFW             Doc 12749-17       Filed 01/03/14      Page 74 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    P a g e 7 4 of 1 2 4

Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       NNL/NNC from January 1. 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 73
        Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 75 of 102
          C a s e 09-10138-KG       Doc 12688-1      Filed 12/20/13    P a g e 75 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                       Subjects for NN Slovakia Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Slovakia attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each of the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NN Slovakia's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Slovakia will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars o f and the identity of the individuals who held those expectations and in

                                                74
       Case 09-10138-MFW             Doc 12749-17         Filed 01/03/14       Page 76 of 102
           C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13     P a g e 76 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


        relation to any allegation or claim that Nortel Canada acted in bad faith, oppressively, or
        otherwise improperly in respect of such pension plan.

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside o f the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.     The facts and documents that demonstrate that a particular financial or accounting
        practice was unfair to that the party and the basis on which it claims to have been unable
        to represent itself and its interests in respect of the practice, or that would be indicative of
        any deficiencies with respect to the party's financial statements or audits.

12.     The facts and documents relating to the amount of any alleged deficit or amount owing in
        respect of the pension plan, including but not limited to: (i) the basis of the calculation of
        such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
        potential costs of annuitizing member's benefits; (iv) the information that the pension
        trustee or administrator provided to its pension advisors and consultants to enable them to
        calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
        (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
        deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
        pensioners whose pensions have been reduced.

13.     The facts and documents that demonstrate any different amounts claimed to be owing
        and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
        Response of the Monitor and Canadian Debtors to the Claims Filed on behalf o f the
        EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
        the party is anything other than an unsecured debt and/or they are alleged to owe the
        Canadian Debtors.

14.     The factual and documentary basis for and calculation of the amount o f any claims
        relating to the allocation of proceeds or any other aspect of past dispositions of businesses
        including the following noted in the particulars o f the proofs of claims: sales to
        AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM, (and any others).

                                                  75
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14     Page 77 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13   Page 77 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach of de facto director or de jure
       and/or shadow director duties. Identification o f the individual Directors & Officers
       against whom claims are being asserted, and in respect of each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned
       Conduct"). Identification of the damages alleged to have been suffered as a result of the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject of examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars of the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source of discovery and particulars of any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings of the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date o f insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.




                                                76
        Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 78 of 102
           Case 09-10138-KG         Doc 12688-1       Filed 12/20/13     Page 78 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


20.     The facts and documents that form the basis for any claims for resulting trust,
        constructive trust or any other claims for proprietary estoppel or equitable claims and that
        disclose the particular basis for any equitable or proprietary claim being pursued.

21.     The facts and documents that demonstrate the factual components of the pleaded
        requirements for certain foreign law assertions disclosed in Schedule "U" of the Joint
        Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
        EMEA Claimants.

22.     The facts and documents demonstrating the estimated gross and net assets of the Estate
        available for distribution to creditors, without recourse to the allocation proceeds, and the
        best estimate of yalid claims (by creditor category) against the Estate, excluding inter­
        company claims.

23.     The facts and documents demonstrating Funds and other financial accommodations,
        including, without limitation, lines o f credit and guarantees, received by the Estate from
        NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
        booked by the Estate.

24.     The facts that relate to any other topics designated by any other parties for this witness.




                                                 77
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 79 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13    Page 79 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                        Subjects for NN Italy Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing o f third party Original Equipment Manufacturer products by
       Nortel.

5.     The value NN Italy attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each o f the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NN Italy's tax filings and/or the tax authority's challenges o f the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments o f taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that NN Italy will rely on as the
       basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity of the individuals who held those expectations and in
       relation to any allegation or claim that Nortel Canada acted in bad faith, oppressively, or
       otherwise improperly in respect of such pension plan.




                                                78
        Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14       Page 80 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13      Page 80 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts o f associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect of the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts and documents that demonstrate any different amounts claimed to be owing
       and/or payable to or by them to NNL than what is set forth in Schedule "B" to the Joint
       Response of the Monitor and Canadian Debtors to the Claims Filed on behalf o f the
       EMEA Claimants and the basis, if any, for claiming that amounts said to be "owing" to
       the party is anything other than an unsecured debt and/or they are alleged to owe the
       Canadian Debtors.

14.    The factual and documentary basis for and calculation of the amount of any claims
       relating to the allocation of proceeds or any other aspect o f past dispositions of businesses
       including the following noted in the particulars of the proofs of claims: sales to
       AASTRA, Andrew, Bookham, Breconridge, Metasolv, STM, (and any others).

15.    The facts and documents that demonstrate (i) decisions alleged to have been made or not
       made, (ii) contracts or transactions alleged to have been approved or not approved, and
       (iii) any other conduct by EMEA BOD's (including which BOD, which members, when,
       at what meeting and/or by which resolution) in breach of de facto director or de jure
       and/or shadow director duties. Identification of the individual Directors & Officers
       against whom claims are being asserted, and in respect o f each such individual, which
       decisions, contracts, transactions or other conduct are the subject of the claims made
       against them, and by which EMEA entity or entities (collectively, the "Impugned

                                                 79
       Case 09-10138-MFW             Doc 12749-17       Filed 01/03/14      Page 81 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13    Page 81 of 1 2 4
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       Conduct"). Identification o f the damages alleged to have been suffered as a result of the
       Impugned Conduct, including the amount of such damages and the EMEA Debtor or
       Debtors alleged to have suffered such damage. Where Impugned Conduct has already
       been the subject o f examination during previous depositions, confirmation that there are
       no other facts or documents in respect of such Impugned Conduct on which the EMEA
       Debtors are relying. Where Impugned Conduct has not been the subject of examination
       during previous depositions, particulars o f the facts and documents on which the EMEA
       Debtors are relying.

16.    The timing and source o f discovery and particulars o f any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings o f the JA's in both the UK
       and the US courts.

17.     The facts and documents that explain why the claims predicated on events that occurred
        more than two years before the proofs of claim were filed in the Canadian CCAA
        proceedings were not made within two years of these events.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence o f a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.     The facts and documents that form the basis for any claims for resulting trust,
        constructive trust or any other claims for proprietary estoppel or equitable claims and that
        disclose the particular basis for any equitable or proprietary claim being pursued.

21.     The facts and documents that demonstrate the factual components of the pleaded
        requirements for certain foreign law assertions disclosed in Schedule "V" o f the Joint
        Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
        EMEA Claimants.

22.     The facts and documents demonstrating the estimated gross and net assets of the Estate
        available for distribution to creditors, without recourse to the allocation proceeds, and the
        best estimate o f valid claims fbv creditor category) against the Estate, excluding
        intercompany claims.

23.     The facts and documents demonstrating Funds and other financial accommodations,
        including, without limitation, lines o f credit and guarantees, received bv the Estate from



                                                 80
        Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 82 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13    Page 82 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

       NNL/NNC from January 1. 2000 to present and how such receipts were characterized and
       booked bv the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 81
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 83 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13    Page 83 of 124


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

                     Subjects for NN Switzerland Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing o f third party Original Equipment Manufacturer products by
       Nortel.

5.      The value NN Switzerland attributes to tangible assets and intangible assets other than
        intellectual property sold as part of each of the line of business sales and the Rockstar
        transaction, including without limitation goodwill and customer relationships, and all
        factual bases for those values, and what amounts should be allocated to each of the
        estates with respect thereto.

6.     The current status o f any ongoing (or outcome of any historical) audit by any taxation
       authority of (HMRC
                      )          of NN Switzerland's tax filings and/or the tax authority's
       challenges o f the transfer pricing adjustments, routine returns reflected therein, the basis
       or alleged basis therefor including challenges to the routine returns - including
       distribution returns - or any other element of the transfer pricing reflected therein, and
       the position taken in response thereto and any actual payments or expected payments of
       taxes, interest or penalties to the taxation authority and the basis for the calculation
       thereof.

7.      The facts and documents that establish any expectations that NN Switzerland will rely on
        as the basis for its oppression remedy claims relating to its participation in the
        Distribution Agreement and transfer pricing arrangements, including the circumstances
        giving rise to, the particulars o f and the identity of the individuals who held those
        expectations as well as in relation to any allegation or claim that Nortel Canada acted in
        bad faith, oppressively, or otherwise improperly in respect of such pension plan.




                                                82
       Case 09-10138-MFW            Doc 12749-17         Filed 01/03/14      Page 84 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13      Page 84 of 124


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts of associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

       The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that tho party and the basis on which it claims to have boon unable
       to represent itself and its interests in respect of the practice, or that would be indicative of
       any deficiencies with respect to tho party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect o f the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose, pensions have been reduced.

13.    The facts that establish any different amounts claimed to be owing and/or payable to or
       by them to NNL than what is set forth in Schedule "B" to the Joint Response of the
       Monitor and Canadian Debtors to the Claims Filed on behalf o f the EMEA Claimants and
       the basis, if any, for claiming that amounts said to be "owing" to the party is anything
       other than an unsecured debt.

14.    The facts that form the basis for and calculation of the amount o f any claims relating to
       the allocation of proceeds or any other aspect of past dispositions o f businesses including
       the following noted in the particulars of the proofs o f claims: sales to AASTRA, Andrew,
       Bookham, Breconridge, Metasolv, STM, (and any others).

15.    The facts that establish (i) decisions alleged to have been made or not made, (ii) contracts
       or transactions alleged to have been approved or not approved, and (iii) any other conduct
       by EMEA BOD's (including which BOD, which members, when, at what meeting and/or


                                                 83
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 85 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13     Page 85 of 124


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

       by which resolution) in breach of de facto director or de jure and/or shadow director
       duties. Identification of the individual Directors & Officers against whom claims are
       being asserted, and in respect of each such individual, which decisions, contracts,
       transactions or other conduct are the subject of the claims made against them, and by
       which EMEA entity or entities (collectively, the "Impugned Conduct"). Identification of
       the damages alleged to have been suffered as a result o f the Impugned Conduct, including
       the amount of such damages and the EMEA Debtor or Debtors alleged to have suffered
       such damage. Where Impugned Conduct has already been the subject o f examination
       during previous depositions, confirmation that there are no other facts or documents in
       respect o f such Impugned Conduct on which the EMEA Debtors are relying. Where
       Impugned Conduct has not been the subject of examination during previous depositions,
       particulars of the facts and documents on which the EMEA Debtors are relying.

16.    The timing and source of discovery and particulars o f any "new" evidence that came to
       light after the Rolston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings o f the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs of claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events rnow complained abou
                                                                                  t.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence of a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date of insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.    The facts and documents that form the basis for any claims for resulting trust,
       constructive trust or any other claims for proprietary estoppel or equitable claims and that
       disclose the particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate factual components of the pleaded
       requirements for certain foreign law assertions disclosed in Schedule "X" o f the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the



                                                84
        Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 86 of 102
          Case 09-10138-KG          Doc 12688-1       Filed 12/20/13    Page 86 of 1 2 4


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

       best estimate of yalid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 85
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 87 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13    Page 87 of 124


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors


                       Subjects for NN Norway Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (including through its existing or former
employees, officers and directors as the case may be) relating to the following topics, which
are not believed to have been fully canvassed with the fact deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the other inter-company
       licensing agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
                        J
       Nortel.

5.     The value NN Norway attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the Rockstar
       transaction, including without limitation goodwill and customer relationships, and all
       factual bases for those values, and what amounts should be allocated to each o f the
       estates with respect thereto.

6.     The current status of any ongoing (or outcome of any historical) audit by any taxation
       authority of NN Norway's tax filings and/or the tax authority's challenges of the transfer
       pricing adjustments, routine returns reflected therein, the basis or alleged basis therefor
       including challenges to the routine returns - including distribution returns - or any other
       element of the transfer pricing reflected therein, and the position taken in response thereto
       and any actual payments or expected payments of taxes, interest or penalties to the
       taxation authority and the basis for the calculation thereof.

7.     The facts and documents that establish any expectations that N N Norway will rely on as
       the basis for its oppression remedy claims relating to its participation in the Distribution
       Agreement and transfer pricing arrangements, including the circumstances giving rise to,
       the particulars of and the identity of the individuals who held those expectations as well
       as in relation to any allegation or claim that Nortel Canada acted in bad faith,
       oppressively, or otherwise improperly in respect of such pension plan.




                                                86
       Case 09-10138-MFW             Doc 12749-17         Filed 01/03/14       Page 88 of 102
          Case 09-10138-KG          Doc 12688-1        Filed 12/20/13     Page 88 of 124


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

8.     The factual and documentary basis for any claim that restructuring costs incurred should
       be reimbursed and the basis for calculating the amounts for each year and any
       corresponding transfer pricing adjustment claimed for that year.

9.     The factual and documentary basis for any claim that it did not get appropriate credit for
       customer revenues, the details of which customers, the dates and amounts o f associated
       revenues claimed, which other entity received the claimed revenues and the basis for
       adjusting for these revenues outside of the transfer pricing arrangements.

10.    The factual and documentary basis for any claims arising from having participated in
       vendor financing arrangements for Nortel customers and that demonstrate that it was that
       it was worse off on a net basis for having done so.

11.    The facts and documents that demonstrate that a particular financial or accounting
       practice was unfair to that the party and the basis on which it claims to have been unable
       to represent itself and its interests in respect o f the practice, or that would be indicative of
       any deficiencies with respect to the party's financial statements or audits.

12.    The facts and documents relating to the amount of any alleged deficit or amount owing in
       respect o f the pension plan, including but not limited to: (i) the basis of the calculation of
       such amounts; (ii) the assumptions used in the calculation of such amounts; (iii) the
       potential costs of annuitizing member's benefits; (iv) the information that the pension
       trustee or administrator provided to its pension advisors and consultants to enable them to
       calculate of such amounts; and (v) the liabilities used in the calculation of such amounts
       (a) discretionary pension benefit increases awarded in the years 1995 and following, (b)
       deferred pensioners, (c) pensioners whose basic benefits are being paid in full, and (d)
       pensioners whose pensions have been reduced.

13.    The facts that establish any different amounts claimed to be owing and/or payable to or
       by them to NNL than what is set forth in Schedule "B" to the Joint Response of the
       Monitor and Canadian Debtors to the Claims Filed on behalf of the EMEA Claimants and
       the basis, if any, for claiming that amounts said to be "owing" to the party is anything
       other than an unsecured debt.

14.    The facts that form the basis for and calculation of the amount of any claims relating to
       the allocation o f proceeds or any other aspect of past dispositions of businesses including
       the following noted in the particulars of the proofs o f claims: sales to AASTRA, Andrew,
       Bookham, Breconridge, Metasolv, STM, (and any others).

15.    The facts that establish (i) decisions alleged to have been made or not made, (ii) contracts
       or transactions alleged to have been approved or not approved, and (iii) any other conduct
       by EMEA BOD's (including which BOD, which members, when, at what meeting and/or
       by which resolution) in breach of de facto director or de jure and/or shadow director
       duties. Identification of the individual Directors & Officers against whom claims are
       being asserted, and in respect of each such individual, which decisions, contracts,
       transactions or other conduct are the subject of the claims made against them, and by
       which EMEA entity or entities (collectively, the "Impugned Conduct"). Identification of


                                                  87
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 89 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13     Page 89 of 124


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

       the damages alleged to have been suffered as a result of the Impugned Conduct, including
       the amount of such damages and the EMEA Debtor or Debtors alleged to have suffered
       such damage. Where Impugned Conduct has already been the subject of examination
       during previous depositions, confirmation that there are no other facts or documents in
       respect of such Impugned Conduct on which the EMEA Debtors are relying. Where
       Impugned Conduct has not been the subject of examination during previous depositions,
       particulars o f the facts and documents on which the EMEA Debtors are relying.

16.    The timing and source o f discovery and particulars of any "new" evidence that came to
       light after the Rqlston and Clement statements filed in connection with the UK COMI
       application in 2009 that is relied upon to contradict or supersede any matters that were
       attested to in those statements or in the accompanying filings o f the JA's in both the UK
       and the US courts.

17.    The facts and documents that explain why the claims predicated on events that occurred
       more than two years before the proofs o f claim were filed in the Canadian CCAA
       proceedings were not made within two years of these events now complained abou
                                                                                 t.

18.    The circumstances of alleged insolvency, near insolvency threats or risks of insolvency,
       or being in the zone of insolvency, or in doubtful solvency, or poor financial condition at
       any given date from any time after January 1999 until November/December 2008, and
       that establish when this state arose and for how long it persisted to the extent the
       contention is predicated on circumstances other than liabilities exceeding assets and/or
       the existence o f a going concern note in audited financial statements.

19.    Any transactions with the Canadian Debtors said to have been undertaken within a (to be
       specified) period prior to any alleged date o f insolvency that are claimed to have
       "preferred" the Canadian Debtors over other creditors and be subject to review or
       scrutiny as a result of that timing.

20.    The facts and documents that form the basis for any claims for resulting trust,
       constructive trust or any other claims for proprietary estoppel or equitable claims and that
       disclose the particular basis for any equitable or proprietary claim being pursued.

21.    The facts and documents that demonstrate the factual components of the pleaded
       requirements for-certain foreign law assertions disclosed in Schedule "Y" of the Joint
       Response of the Monitor and the Canadian Debtors to the Claims Filed on Behalf of the
       EMEA Claimants.

22.    The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims (by creditor category) against the Estate, excluding inter­
       company claims.

23.    The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from



                                                88
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 90 of 102
          C a s e 09-10138-KG       Doc 12688-1       Filed 12/20/13    Page 90 of 1 2 4


Representative Witness Subjects Served by the
Monitor and the Canadian Debtors

       NNL/NNC from January 1, 2000 to present and how such receipts were characterized and
       booked by the Estate.

24.    The facts that relate to any other topics designated by any other parties for this witness.




                                                 89
       Case 09-10138-MFW            Doc 12749-17       Filed 01/03/14      Page 91 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13    Page 91 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                  Subjects for Nortel Networks (Northern Ireland) Limited

                                     Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the inter-company lisencing
       agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use o f third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value Nortel Networks (Northern Ireland) Limited attributes to tangible assets and
       intangible assets other than intellectual property sold as part of each of the line of
       business sales and the Rockstar transaction, including without limitation goodwill and
       customer relationships, and all factual bases for those values, and what amounts should
       be allocated to each o f the estates with respect thereto.

6.     The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims fbv creditor category) against the Estate, excluding
       intercompany claims.

7.     The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines o f credit and guarantees, received bv the Estate from
       NNL/NNC from January 1. 2000 to present and how such receipts were characterized and
       booked bv the Estate.




                                                90
       Case 09-10138-MFW             Doc 12749-17      Filed 01/03/14       Page 92 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13    Page 92 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                 Subjects for Nortel Networks Optical Components Limited

                                     Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the inter-company licensing
       agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value Nortel Networks Optical Components Limited attributes to tangible assets and
       intangible assets other than intellectual property sold as part of each of the line of
       business sales and the Rockstar transaction, including without limitation goodwill and
       customer relationships, and all factual bases for those values, and what amounts should
       be allocated to each of the estates with respect thereto.

6.     The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors, without recourse to the allocation proceeds, and the
       best estimate of valid claims fbv creditor category) against the Estate, excluding
       intercompany claims.

7.     The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1. 2000 to present and how such receipts were characterized and
       booked by the Estate.




                                                91
       Case 09-10138-MFW            Doc 12749-17        Filed 01/03/14      Page 93 of 102
          Case 09-10138-KG          Doc 12688-1      Filed 12/20/13     Page 93 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors


                  Subjects for Nortel Networks South Africa (ptv) Limited

                                     Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and
documents known or available to that party, if any (including through its existing
or former employees, officers and directors as the case may be) relating to the
following topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The factual and documentary basis for and scope of the alleged beneficial/equitable
       interest and licence in Nortel's intellectual property by parties other than NNL, and the
       past practices of NNL and its subsidiaries concerning the scope of the licenses to
       intellectual property under the Cost-Sharing Agreements and the inter-company licensing
       agreements.

2.     The facts and documents demonstrating how and to what extent intellectual property was
       assigned to NNL by NNL's subsidiaries, inventors/authors and others.

3.     The facts and documents demonstrating Nortel's processes for the identification and
       development of products, as they varied over time before and after January 14, 2009.

4.     The scope and use of third-party products and components used or embodied in Nortel
       products and the marketing of third party Original Equipment Manufacturer products by
       Nortel.

5.     The value Nortel" Networks South Africa (pty) Limited attributes to tangible assets and
       intangible assets other than intellectual property sold as part of each of the line of
       business sales and the Rockstar transaction, including without limitation goodwill and
       customer relationships, and all factual bases for those values, and what amounts should
       be allocated to each of the estates with respect thereto.

6.     The facts and documents demonstrating the estimated gross and net assets of the Estate
       available for distribution to creditors., without recourse to the allocation proceeds, and the
       best estimate of valid claims fbv creditor category) against the Estate, excluding
       intercompany claims.

7.     The facts and documents demonstrating Funds and other financial accommodations,
       including, without limitation, lines of credit and guarantees, received by the Estate from
       NNL/NNC from January 1. 2000 to present and how such receipts were characterized and
       booked by the Estate.




                                                92
     Case 09-10138-MFW          Doc 12749-17        Filed 01/03/14      Page 94 of 102
       Case 09-10138-KG        Doc 12688-1       Filed 12/20/13     Page 96 of 124



                  Subjects for NNSA Representative Witness

The Canadian Deposition Group provides notice that the above
referenced party representative is expected to have informed
him/herself of the relevant facts and documents known or available to
that party, if any (including through its existing or former employees,
officers and directors as the case may be) relating to the following
topics, which are not believed to have been fully canvassed with the fact
deposition witnesses:

1.     The facts and documents, other than the MRDA, demonstrating NNSA's
       understanding of the phrase "equitable and beneficial ownership" as used in the
       ownership interests that NNSA allegedly had in any of the intellectual property
       sold in the line of business sales and in the Rockstar transaction.

2.     The factual and documentary basis for and scope of the alleged
       beneficial/equitable interest and licence in Nortel's intellectual property by parties
       other than NNL, and the past practices of NNL and its subsidiaries concerning the
       scope of the licenses to intellectual property under the Cost-Sharing Agreements
       and the MRDA.

3.     The facts and documents demonstrating how and to what extent intellectual
       property was assigned to NNL by NNL's subsidiaries, inventors/authors and
       others.

4.     The facts and documents demonstrating Nortel's processes for the identification
       and development of products, as they varied over time before and after January
       14,2009.     .

5.     The scope and use of third-party products and components used or embodied in
       Nortel products and the marketing of third party Original Equipment
       Manufacturer products by Nortel.

6.     The value NNSA attributes to tangible assets and intangible assets other than
       intellectual property sold as part of each of the line of business sales and the
       Rockstar transaction, including without limitation goodwill and customer
       relationships, 'and all factual bases for those values, and what amounts should be
       allocated to each of the estates with respect thereto.

7.     The facts and documents evidencing (1) the amounts that NNL, NNI, NN Ireland,
       NNUK and NNSA paid for direct funding of research and development from
       2001 and 2009; and (2) the amounts that NNSA contends were paid in transfer
       pricing adjustments under the Nortel transfer pricing model between 2001 and
       2009.

8.     The factual and documentary basis for any challenge NNSA intends to make to
       the entitlement of NNL to a Compensating Adjustment for the excess transfer
       pricing payments credited to NNSA for the years 2001 through 2005 inclusive
                                             2
      Case 09-10138-MFW         Doc 12749-17         Filed 01/03/14      Page 95 of 102
        Case 09-10138-KG        Doc 12688-1       Filed 12/20/13     Page 97 of 124



        corresponding to the $2 billion amount credited to NNI for those same years
        under the MRDA and particularized in paragraph 317 of the Joint Response of the
        Monitor and the Canadian Debtors to the Claims Filed on behalf of the EMEA
        Claimants.

9.      The current status of any ongoing (or outcome of any historical) audit by any
        taxation authority of NNSA's tax filings and/or the tax authority's challenges of
        the transfer pricing adjustments, routine returns reflected therein, the basis or
        alleged basis therefor including challenges to the routine returns - including
        distribution returns - or any other element of the transfer pricing reflected therein,
        and the position taken in response thereto and any actual payments or expected
        payments of taxes, interest or penalties to the taxation authority and the basis for
        the calculation thereof. In particular but without limitation, the facts or
        documents related to any audit by any taxation authority including (i)
        communication with the French tax authority regarding the sufficiency of the
        documentation to establish the basis for the MRDA during the time in which the
        RPS method was in force but before the formal execution of the MRDA and (ii)
        communication with the French tax authority related to a proposed transfer
        pricing agreement for NNSA.

10.     The facts and documents that establish any expectations that NNSA will rely on
        as the basis for its oppression remedy claims relating to its participation in the
        MRDA and transfer pricing arrangements, including the circumstances giving rise
        to, the particulars of and the identity of the individuals who held those
        expectations as well as in relation to any allegation or claim that Nortel Canada
        acted in bad, faith, oppressively, or otherwise improperly in respect of such
        pension plan.

11.     The factual and documentary basis for the allegation that stewardship (head
        office) costs should have been excluded from RPS calculation from 2006 onwards
        and the basis for calculating the amounts for each year and any corresponding
        transfer pricing adjustment claimed for that year.

12.     The factual and documentary basis for any claim that restructuring costs incurred
        should be reimbursed and the basis for calculating the amounts for each year and
        any corresponding transfer pricing adjustment claimed for that year.

13.     The factual and documentary basis for any claim that NNSA did not get
        appropriate credit for customer revenues, the details of which customers, the dates
        and amounts of associated revenues claimed, which other entity received the
        claimed revenues and the basis for adjusting for these revenues outside of the
        transfer pricing arrangements.

14.     The factual and documentary basis for any claims arising from having
        participated in vendor financing arrangements for Nortel customers and that
        demonstrate that NNSA was worse off on a net basis for having done so.

15.     The facts and documents that demonstrate that a particular financial or accounting
        practice was unfair to NNSA and the basis on which NNSA claims to have been
                                              3
      Case 09-10138-MFW          Doc 12749-17        Filed 01/03/14      Page 96 of 102
        Case 09-10138-KG        Doc 12688-1       Filed 12/20/13     Page 98 of 124



        unable to represent itself and its interests in respect of the practice, or that would
        be indicative of any deficiencies with respect to the party's financial statements or
        audits.

16.     The facts that support the claim that pension funding should have been pooled or
        otherwise funded or compensated for by entities other than NNSA by means of
        the transfer pricing methodology or otherwise in the RPS.

17.     The facts and documents relating to the amount of any alleged deficit or amount
        owing in respect of the pension plan, including but not limited to: (i) the basis of
        the calculation of such amounts; (ii) the assumptions used in the calculation of
        such amounts; (iii) the potential costs of annuitizing members' benefits; (iv) the
        information that the pension trustee or administrator provided to its pension
        advisors and consultants to enable them to calculate such amounts; and (v) the
        liabilities used in the calculation of such amounts (a) discretionary pension benefit
        increases awarded in the years 1995 and following, (b) deferred pensioners, (c)
        pensioners whose basic benefits are being paid in full, and (d) pensioners whose
        pensions have been reduced.

18.     The facts and documents that demonstrate any different amounts claimed to be
        owing and/or payable to or by NNSA to NNL than what is set forth in Schedule
        "B" to the Joint Response of the Monitor and Canadian Debtors to the Claims
        Filed on behalf of the EMEA Claimants and the basis, if any, for claiming that
        amounts said to be "owing" to NNSA are anything other than an unsecured debt.

19.     The factual and documentary basis for and calculation of the amount of any
        claims relating to the allocation of proceeds or any other aspect of past
        dispositions of businesses including the following noted in the particulars of the
        proofs of claims: sales to AASTRA, Andrew, Bookham, Breconridge, Metasolv,
        STM (and any others).

20.     The facts and documents that demonstrate (i) decisions alleged to have been made
        or not made, .(ii) contracts or transactions alleged to have been approved or not
        approved, and (iii) any other conduct by EMEA BOD's (including which BOD,
        which members, when, at what meeting and/or by which resolution) in breach of
        de facto director or de jure and/or shadow director duties. Identification of the
        individual Directors & Officers against whom claims are being asserted, and in
        respect of each such individual, which decisions, contracts, transactions or other
        conduct are the subject of the claims made against them, and by which EMEA
        entity or entities (collectively, the "Impugned Conduct"). Identification of the
        damages alleged to have been suffered as a result of the Impugned Conduct,
        including the amount of such damages and the EMEA Debtor or Debtors alleged
        to have suffered such damage. Where Impugned Conduct has already been the
        subject of examination during previous depositions, confirmation that there are no
        other facts or documents in respect of such Impugned Conduct on which the
        EMEA Debtors are relying. Where Impugned Conduct has not been the subject
        of examination during previous depositions, particulars of the facts and
        documents on which the EMEA Debtors are relying.

                                              4
      Case 09-10138-MFW         Doc 12749-17       Filed 01/03/14      Page 97 of 102
       Case 09-10138-KG        Doc 12688-1       Filed 12/20/13    Page 99 of 124



21.     The facts and documents that demonstrate the timing and source of evidence to
        support the issuance of claims or threatened and tolled claims against individually
        named directors of NNSA. Specifically, and without limitation, the facts and
        documents that demonstrate the timing and source of evidence to support the
        issuance of claims or threatened and tolled claims against individually named
        directors of NNSA as asserted in the Commercial Court of Versailles (the "French
        Proceeding"), including (i) documents or facts to support any allegations made
        against Jean-Marie Lesur and Darryl Edwards; (ii) documents of facts to support
        the French Liquidator's decision not to name certain other directors of NNSA
        (e.g., Michel Clement, Pascal Debon, Alain Biston, Sharon Rolston and/or Simon
        Freemantle) in the Summons to Appear issued in the French Proceeding; (iii) any
        documents filed in relation to any procedural steps taken in the French
        Proceeding, including, in particular, any documents in support of or opposition to
        a stay of same; and (iv) any evidence not yet produced in this proceeding on
        which the French Liquidator intends to rely in the French Proceeding.

22.     The timing and source of discovery and particulars of any "new" evidence that
        came to light after the Rolston and Clement statements filed in connection with
        the UK COMI application in 2009 that is relied upon to contradict or supersede
        any matters that were attested to in those statements or in the accompanying
        filings of the JAs in both the UK and the US courts.

23.     The facts and documents that explain why the claims predicated on events that
        occurred more than two years before the proofs of claim were filed in the
        Canadian CCAA proceedings were not made within two years of these events.

24.     The circumstances of alleged insolvency, near insolvency threats or risks of
        insolvency, or being in the zone of insolvency, or in doubtful solvency, or poor
        financial condition at any given date from after January 1999 until
        November/December 2008, and that establish when this state arose and for how
        long it persisted to the extent the contention is predicated on circumstances other
        than liabilities exceeding assets and/or the existence of a going concern note in
        audited financial statements.

25.     Any transactions with the Canadian Debtors said to have been undertaken within
        a (to be specified) period prior to any alleged date of insolvency that are claimed
        to have "preferred" the Canadian Debtors over other creditors and be subject to
        review or scrutiny as a result of that timing.

26.     The facts and documents that form the basis for any claims for resulting trust,
        constructive trust or any other claims for proprietary estoppel or equitable claims
        and that disclose the particular basis for any equitable or proprietary claim being
        pursued.

27.     The facts and documents that demonstrate the factual components of the pleaded
        requirements for certain foreign law assertions disclosed in Schedule "S" of the
        Joint Response of the Monitor and the Canadian Debtors to the Claims Filed on
        Behalf of the EMEA Claimants.

                                             5
      Case 09-10138-MFW         Doc 12749-17       Filed 01/03/14     Page 98 of 102
       Case 09-10138-KG       Doc 12688-1      Filed 12/20/13     Page 100 of 124



28.     The facts and documents demonstrating the estimated gross and net assets of the
        Estate available for distribution to creditors, without recourse to the allocation
        proceeds, and the best estimate of valid claims (by creditor category) against the
        Estate, excluding inter-company claims.

29.     The facts and documents demonstrating Funds and other financial
        accommodations, including, without limitation, lines of credit and guarantees,
        received by the Estate from NNL/NNC from January 1, 2000 to present and how
        such receipts were characterized and booked by the Estate.

30.     The facts and documents that demonstrate that the repayment by NNSA in 2008
        of €25m of the loan from NNL was improper, including without limitation (i) the
        documents that show that such a partial repayment was contrary to the loan
        agreement including, in particular, the relevant provisions of the loan agreement
        itself; (ii) any facts or documents to show that NNSA was not solvent at the time
        the repayment was made; and (iii) any facts or documents that show that NNL
        imposed the repayment on NNSA and/or that NNSA approved the repayment
        despite it not being in NNSA's best interest to do so.
          Case 09-10138-MFW         Doc 12749-17         Filed 01/03/14    Page 99 of 102
            Case 09-10138-KG       Doc 12688-1        Filed 12/20/13   Page 102 of 124
Representative Witness Subjects Served by the
Monitor and Canadian Debtors

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11


Nortel Networks Inc., et al.                                  Case No. 09-10138 (KG)

                                                              (Jointly Administered)
                                  Debtors.




                                                - and-

                                                                       CourtFile No. 09-CL-7950

                                        ONTARIO
                                SUPERIOR COURT OF JUSTICE
                                    (COMMERCIAL LIST)

          IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT ACT,
                         R.S.C. 1985, c. C-36, AS AMENDED

         AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
            NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED,
            NORTEL NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS
         INTERNATIONAL CORPORATION AND NORTEL NETWORKS TECHNOLOGY
                       -          CORPORATION

    UKPC REPRESENTATIVE WITNESS SUBJECTS SERVED BY THE CANADIAN
    ALLOCATION GROUP AND THE CANADIAN CLAIMS DEFENDANT GROUP


                                       (December 19,2013)




                                                  1
       Case 09-10138-MFW               Doc 12749-17           Filed 01/03/14        Page 100 of 102
           Case 09-10138-KG            Doc 12688-1         Filed 12/20/13       Page 103 of 124


Representative Witness Subjects Served by the
Monitor and Canadian Debtors

                             Subjects for UKPC Representative Witness

The Canadian Deposition Group provides notice that the above referenced party
representative is expected to have informed him/herself of the relevant facts and documents
known or available to that party, if any (through its existing or former employees, officers
and directors as the case may be) relating to the following topics, which are not believed to
have been fully canvassed with the fact deposition witnesses:1

1.      The facts and documents relating to the amount of each of the NNUK Pension Plan
        deficit and section 75 debt including but not limited to: (i) the basis of the calculation of
        each; (ii) the assumptions used in the calculation of each; (iii) the potential costs of
        annuitizing member's benefits; (iv) the information that the Trustee provided to its
        pension advisors and consultants to enable them to calculate the deficit and section 75
        debt; and (v) the liabilities used in the calculation of the deficit and section 75 debt
        referable to (a) discretionary pension benefit increases awarded in the years 1995 and
        following, (b) deferred pensioners, (c) pensioners whose basic benefits are being paid in
        full, and (d) pensioners whose pensions have been reduced.

2.      The facts and documents relating to the age and the amount of the benefit of pension plan
        members, before and after reduction.

3.      The facts and documents relating to the quantum of the PPF claim.

4.      The facts and documents relating to the UKPC's position that NNUK failed to follow a
        recommendation made by the NNUK Pension Plan's actuary in a manner that violated
        the Scheme's Trust Deed or Rules or any statute or other UK law or regulation or made a
        funding commitment that it failed to fulfill.

5.      The facts and documents relating to the mortality assumptions proposed by Trustee and
        the Scheme's actuary for the March 31, 2008 actuarial valuation of the Scheme and the
        2005 actuarial valuation of the Scheme.

6.      The facts and documents relating to the UKPC's claim that NNUK is entitled to any or all
        of NNSA's assets as a result of Project Swift.

7.      The facts and documents relating to the UKPC's claim that NNUK or Nortel Canada
        acted in bad faith, oppressively, or otherwise improperly during the negotiations that lead
        to the 2002, 2003 and 2004 funding contributions, the 2005 Interim Funding Agreement,
        the 2006 Long Term Funding or the negotiations regarding the 2008 actuarial valuation
        of the Scheme.

8.      The facts and documents relating to the investment performance of the Scheme assets
        each year from 2002 through 2008, as a whole and by asset category.



1 Capitalized terms not defined herein have the meaning ascribed to them in the Joint Response Of The Monitor And

Canadian Debtors To The Claims By The UK Pension Trustee and PPF re: UK Pension Scheme
          Case 09-10138-MFW         Doc 12749-17       Filed 01/03/14     Page 101 of 102
            Case 09-10138-KG        Doc 12688-1     Filed 12/20/13     Page 104 of 124


Representative Witness Subjects Served by the
Monitor and Canadian Debtors

9.        The facts and documents relating to the UKPC's involvement in FSD proceedings before
          the Determinations Panel including, but not limited to: (i) all communications that the
          Trustee had with tPR; (ii) any work that the Trustee retained PwC to undertake with
          respect to the FSD proceedings; (iii) tPR's selection of June 30, 2008 as the Relevant
          Time; and (iv) any communications among any of the UKPC, PwC and the tPR with
          respect to seeking a contribution notice against Nortel Canada.

10.       The facts and documents relating to the UKPC's claim that NNUK was insufficiently
          resourced as at the Relevant Time for purposes of the FSD.

11.       The facts and documents relating to the UKPC's claim that it is reasonable to impose an
          FSD on Nortel Canada.

12.       The facts and documents relating to the potential imposition of a Contribution Notice on
          Nortel Canada;

13.       The facts and documents relating to the UKPC's claim that NNUK provided benefits to
          Nortel Canada whose value exceeded the benefits that Nortel Canada provided to NNUK;

14.       The facts and documents relating to the UKPC's claim that the RPSM failed to
          adequately take into account NNUK's restructuring costs, pension obligations and the
          Reciprocal Agreement, and that such alleged failures had an adverse impact on the
          funding contributions made by NNUK to the Scheme or otherwise harmed the Scheme;.

15.       The facts and documents relating to any documents or information provided by the
          Trustee to any experts that the Trustee or tPR retained to submit reports to the
          Determinations Panel in connection with the FSD proceedings including, but not limited
          to the reports of Ronald Bowie, Gary Squires and Brian Becker.

16.       The facts and documents relating to the UKPC's claim that they have standing to
          commence this claim.

17.       The facts and documents that disclose why the claims predicated on events that occurred
          more than two years before the proofs of claim were filed in the Canadian CCAA
          proceedings were not made within two years of these events.



6275522
     Case 09-10138-MFW        Doc 12749-17      Filed 01/03/14   Page 102 of 102
       Case 09-10138-KG      Doc 12688-1     Filed 12/20/13   Page 105 of 124



US Deposition Group's Letter regarding Representative Witness Topics (Friday, Dec. 13)
